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    Case 6:20-cv-01083-ADA Document 28-4 Filed 07/26/21 Page 6 of 7



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      chassis      shield



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             3 instrument
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             word ",1andacdize"                              in  of adjust
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                                                                                                             to   op                   the
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             en;tion of     of adjusting the currem    current in the potentiometer
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              eration                                        the                          in                                       circuit to
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             balance        the     standard
              balance lhe srnndard cell is deprecated           deprecated. Su also
                                                                 cell        is        See    also. 1est.                       test
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                                                                                              EECPE                                                                               redundant
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              4 (computer                                     machines) A           A process                                   combination check
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              ations or             the ex1  existence          of cenain prescribed                   conditions               digits in a word,    word byte.   byte charac1
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              ations"        or •·me               tence of                              certain
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                     (nu lc.llr power power generating
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                ration    along             the    grain                      the                                                                                                                                                                                           purpose


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                sults                 stresses                                in                                                                                 is                 to the                          the      first                 last        digit       in




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